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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                      Chapter 11
    In re:
                                                                      Case No. 20-32564 (DRJ)
    Stage Stores, Inc., et al,
                                                                      (Jointly Administered)
                             Debtors.1

    STIPULATION EXTENDING PERIOD FOR COMMITTEE TO CHALLENGE CERTAIN
                 OF THE PREPETITION SECURED PARTIES’ LIENS

             The Official Committee of Unsecured Creditors (the “Committee”) of the above-captioned

debtors and debtors-in-possession (together, the “Debtors”), on the one hand, and the Prepetition

Agents2 on the other hand, hereby enter into this Stipulation, and stipulate and agree to the following:

                                                    RECITALS

             WHEREAS, on May 10, 2020 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the United States Code, 11 U.S.C §§ 101, et seq. in the United

States Bankruptcy Court for the Southern District of Texas, Houston Division (the “Court”); and

             WHEREAS, on May 20, 2020, the Committee was appointed pursuant to 11 U.S.C. § 1102;

and

             WHEREAS, on June 10, 2020, the Court entered the Final Cash Collateral Order; and

             WHEREAS, paragraph 17(b) of the Final Cash Collateral Order established a deadline of July

20, 2020 for the Committee to assert a Challenge (the “Challenge Period”); and

             WHEREAS, paragraph 17(b) of the Final Cash Collateral Order provides that the Challenge




1
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Stage Stores, Inc. (6900) and Specialty Retailers, Inc. (1900). The Debtors’ service address
is: 2425 West Loop South, Houston, Texas 77027.
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         Capitalized terms used and not defined herein shall have the meaning ascribed to such terns in the Agreed
Final Order (I) Authorizing Use of Cash Collateral and Affording Adequate Protection, (II) Modifying the Automatic
Stay, and (III) Granting Related Relief [ECF No. 441] (the “Final Cash Collateral Order”).
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Period may be extended with the written consent of the Prepetition Agents prior to the expiration of

the Challenge Period; and

         WHEREAS, the Committee and the Prepetition Agents (together, the “Parties”) have agreed

to extend the Challenge Period as to the Committee only with respect to certain of the Prepetition

Secured Parties’ Prepetition Liens, as set forth below, and the Parties wish to further memorialize that

agreement under the terms of this Stipulation.

                                                 STIPULATION

         NOW       THEREFORE,           UPON        THE      FOREGOING           RECITALS,         WHICH         ARE

INCORPORATED AS THOUGH FULLY SET FORTH HEREIN, IT IS AGREED THAT:

         1.       The Challenge Period is hereby extended through and including September 18, 2020

solely with respect to any Challenge concerning the Prepetition Secured Parties’ prepetition liens on

the following assets owned by the Debtors: (i) certain real property located at 307 Stratton Street,

Logan, West Virginia 25601; 321 Stratton Street, Logan, West Virginia 25601; 1020 Willow Creek

Drive, Jacksonville, Texas 75766; and 506 Beall Boulevard, Jacksonville, Texas 75766; and (ii) any

and all rights of the Debtors with respect to any tax refunds created by the CARES Act3 with respect

to the carryback of net operating losses for prior tax years ((i) and (ii) collectively the “Preserved Lien

Challenges”).

         2.       The Challenge Period shall be extended solely for the Committee and solely with

respect to a Challenge by the Committee with respect to the validity, extent, priority or perfection of

the security interests and liens of the Prepetition Secured Parties with respect to the Preserved Lien

Challenges only.




3
         “CARES Act” means the Coronavirus Aid, Relief and Economic Security Act, (H.R. 6074, H.R. 6201, H.R.
748 and H.R. 266 (116), as amended (including any successor thereto), and all requests, rules, guidelines, requirements
and directives thereunder or issued in connection therewith or in implementation thereof, regardless of the date
enacted, adopted, issued or implemented.
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        3.      Except as set forth in Paragraph 1 above, the Committee hereby (a) waives and releases

any all rights to assert a Challenge with respect to (i) the validity, extent, priority, or perfection of the

security interests, and Prepetition Liens of the Prepetition Agents and the other Prepetition Secured

Parties, (ii) the validity, allowance, priority, or amount of the Prepetition Obligations, or (iii) any

liability of the Prepetition Agents and the other Prepetition Secured Parties with respect to anything

arising from the Prepetition Financing Documents, and (b) agrees (x) that the Challenge Period is

deemed terminated as to the Committee for all other purposes, (y) all of the findings, Debtors’

Stipulations, waivers, releases, affirmations, and other stipulations as to the amount, priority, extent,

and validity as to the claims, liens, and interests of the Prepetition Agents and the other Prepetition

Secured Parties, as applicable, shall be of full force and effect and forever binding upon the Debtors’

Estates and all creditors, interest holders, and other parties in interest in the Chapter 11 Cases and any

Successor Cases, and (z) any and all claims or causes of action against the Prepetition Agents and the

other Prepetition Secured Parties, as applicable, relating in any way to the Prepetition Financing

Documents, Prepetition Obligations, and Prepetition Liens, as applicable, shall be and the same hereby

are released by the Committee.

        4.      Anything herein to the contrary notwithstanding, nothing herein shall affect the

Adequate Protection Replacement Liens and the Adequate Protection Superpriority Claim granted to

the Prepetition Agents and the other Prepetition Secured Parties in the Final Cash Collateral Order with

respect to any assets and/or interests of the Debtors relating to the Preserved Lien Challenges, and any

products and proceeds thereof.

        5.      This Stipulation shall not prejudice (a) the Committee’s right to request a further

extension of the Challenge Period solely with respect to the Preserved Lien Challenges or (b) the

Prepetition Agents’ and the other Prepetition Secured Parties’ rights to object to any such extension

request.
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        6.      Except as expressly set forth in this Stipulation, nothing contained herein shall

constitute an amendment or modification to the Final Cash Collateral Order, and the Final Cash

Collateral Order shall otherwise remain in full force and effect, and all parties’ respective rights,

remedies, and limitations thereunder shall remain unaffected. Moreover, nothing herein shall be

construed to provide the Prepetition Secured Parties any additional liens on the Debtors’ assets.

        7.      This Stipulation may not be amended or modified without the written consent of the

Parties hereto. This Stipulation may be executed in counterparts by facsimile or other electronic

transmission, each of which will be deemed an original, and all of which when taken together will

constitute one document.

        8.      Each individual signing this Stipulation on behalf of any Party hereto acknowledges

and, with respect to his or her own signature below, warrants and represents that he or she is counsel

to such Party and in such capacity is authorized to execute this Stipulation on behalf of the party

indicated.

        10.     Each Party further represents and agrees that it has had the opportunity to consult with

its respective attorneys regarding the Stipulation and that such counsel has had the opportunity to

review this Stipulation; that it has carefully read and each fully understands all of the provisions of this

Stipulation; and that it is entering into this Stipulation voluntarily.

        11.     The Court shall retain jurisdiction to hear and determine all matters arising from or

related to the construction, performance, enforcement or implementation of the terms of the

Stipulation.



                            [Remainder of Page Left Blank – Signatures to Follow]
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 Date: July 20, 2020

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